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 1 MCGREGOR W. SCOTT
   United States Attorney
 2 TIMOTHY H. DELGADO
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-0237-JAM-2
12                                Plaintiff,             STIPULATION AND ORDER TO CONTINUE
                                                         STATUS CONFERENCE
13                          v.
                                                         Date:     March 5, 2019
14   ANN MARIE VANCE,                                    Time:     9:15 a.m.
                                                         Judge:    Hon. John A. Mendez
15                                Defendant.
16

17          Plaintiff United States of America, through its undersigned counsel, and defendant Ann Marie

18 Vance, through her counsel of record, stipulate that the status conference now set for March 5, 2019, be

19 continued to April 2, 2019, at 9:15 a.m.

20          On December 26, 2017, Ms. Vance was arraigned on the six-count Indictment in this case. (ECF

21 No. 13.) The United States produced all of the relevant discovery in this case in the weeks following.

22 In June 2018, Todd D. Leras assumed responsibility for the defense case from the Office of the Federal

23 Defendant, and Mr. Leras has represented Ms. Vance continuously since. (ECF No. 39.)

24          Mr. Leras requires a brief period of additional time to review the discovery already produced, to

25 discuss these materials with her clients, to conduct additional investigation, and to otherwise prepare for

26 trial. In addition, Mr. Leras requires additional time to review the potential implications of the recently-

27 enacted First Step Act and to discuss the matter with the defendant.

28 / / /

      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       1
      STATUS CONFERENCE
              Case 2:17-cr-00237-JAM Document 54 Filed 03/04/19 Page 2 of 3


 1          Based on the foregoing, the parties stipulate that the status conference currently scheduled for

 2 March 5, 2019, be continued to April 2, 2019, at 9:15 a.m. The parties further agree that time under the

 3 Speedy Trial Act should be excluded from the date the parties stipulated up to and including April 2,

 4 2019, under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare] and General Order 479

 5 [Local Code T4], based on continuity of counsel and defense preparation.

 6          Counsel and the defendants also agree that the ends of justice served by the Court granting the

 7 requested continuance outweigh the best interests of the public and the defendants in a speedy trial.

 8                                                        Respectfully submitted,

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10 Dated: March 1, 2019                                   _/s/ Timothy H. Delgado____________
                                                          TIMOTHY H. DELGADO
11                                                        Assistant United States Attorney
                                                          Attorney for Plaintiff United States
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     Dated: March 1, 2019                                 _/s/ THD for Todd D. Leras_________
14                                                        TODD D. LERAS
                                                          Attorney for Defendant Ann Marie Vance
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE       2
      STATUS CONFERENCE
               Case 2:17-cr-00237-JAM Document 54 Filed 03/04/19 Page 3 of 3


 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court finds that the ends of justice

 6 are served by granting the requested continuance and outweigh the best interests of the public and the

 7 Defendants in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, up to and including April 2,

 9 2019, shall be excluded from computation of time within which the trial in this case must be commenced

10 under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time for

11 counsel to prepare] and General Order 479 (Local Code T4). It is further ordered that the March 5, 2019

12 status conference be continued until April 2, 2019, at 9:15 a.m.

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14 Dated: March 1, 2019                                    /s/ John A. Mendez____________
                                                           Hon. John A. Mendez
15                                                         United States District Court Judge
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      STIPULATION AND [PROPOSED] ORDER TO CONTINUE         3
      STATUS CONFERENCE
